                           UNITED STATES DISTRICT COURT                      Motion GRANTED
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                  for extension to
                                NASHVILLE DIVISION                           3/31/14.


UNITED STATES OF AMERICA                           )
                                                   )
       v.                                          )      No. 3:13-00139
                                                   )      Judge Trauger
FALLON SABLAN                                      )



                MOTION FOR EXTENSION OF TIME TO RESPOND TO
                      DEFENDANT’S MOTION TO DISMISS,

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and respectfully requests an extension to respond to the defendant’s

Motion to Dismiss (D.E. 82) pending before the Court.

       In support of this motion, the undersigned submits the government is in the process of

reviewing said motion and needs additional time to complete this process and formulate an

appropriate response. Therefore, the undersigned requests an extension of two weeks to file a

response to defendant’s motion to dismiss pending before the Court.

                                                   Respectfully submitted,

                                                   DAVID RIVERA
                                                   United States Attorney for the
                                                   Middle District of Tennessee

                                                   s/ Clay T. Lee
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